FORM trcsrvd
                                UNITED STATES BANKRUPTCY COURT
                                          District of Arizona

                               MEMORANDUM TO CASE TRUSTEE

CASE NAME: GREGG SETH REICHMAN
CASE NUMBER: 0:10−bk−24374−RJH




               The administrative docket in this case shows that there has been no activity (no filings have been made)
               in this case for one year or more and there are no pending adversary proceedings in which the trustee is a
               party. Based on a review of the docket, it is unclear as to whether this case is continuing to be
               administered or whether an appropriate final report should be filed and the case closed.


               This case has been dismissed for more than 90 days. The docket shows that no Final Report in a
               Dismissed Case has yet been filed. Please file your Final Report so that the case can be closed.


               This case was converted. The docket shows that no Final Report in a Converted Case has been filed by
               the previous chapter trustee. Please file your Final Report so the case can be closed.


               The administrative docket in this case shows that the plan has been completed and a chapter 13 discharge
               has been entered. The docket also shows that more than six months has passed since the entry of the
               discharge and no Final Report has been filed by the chapter 13 trustee. Please file your Final Report so
               that the case can be closed.


     OTHER:




Date: January 26, 2012

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court − Yuma
325 W 19th Street, Suite D                                   George Prentice
Yuma, AZ 85364
Telephone number: (928) 783−2288
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